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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

JAMES HAYCRAFT                                   §
AND LAURA HAYCRAFT                               §
     Plaintiffs                                  §
                                                 §
v.                                               §      Civil Action No. 5:17-cv-00452
                                                 §
LIBERTY MUTUAL INSURANCE D/B/A                   §
LIBERTY MUTUAL                                   §
     Defendant                                   §


                         DEFENDANT’S NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       Defendant Liberty Insurance Corporation (“Liberty”) files this Notice of Removal

pursuant to 28 U.S.C. §1446(a) and respectfully shows the following:

                                    Procedural Background

       1.      On April 11, 2017, Plaintiffs James Haycraft and Laura Haycraft (“Plaintiffs”)

filed their Original Petition styled Cause No. 2017CI06713, James Haycraft and Laura Haycraft

v. Liberty Mutual Insurance D/B/A liberty Mutual, in the 131st Judicial District of Bexar County,

Texas. On May 10, 2017, Plaintiffs filed their First Amended Petition asserting their claims

against the correct insurance company defendant, Liberty Insurance Corporation.

                                       Nature of the Suit

       2.      This lawsuit involves a dispute over Liberty’s alleged handling of Plaintiffs’

insurance claims for damages to Plaintiffs’ property, located at 10515 Rocky M. Trail, Helotes,

Texas 78023. Plaintiffs allege breach of the insurance contract, violations of the Texas Insurance

Code, and breach of duty of good faith and fair dealing. Plaintiffs currently seek actual damages,



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consequential damages, statutory damages, treble damages, pre- and post-judgment interest, and

other litigation expenses and costs of court.

                                              Basis for Removal

        3.       Removal is proper under 28 U.S.C. §1332 because there is complete diversity of

citizenship between the parties to the suit, and the amount in controversy exceeds $75,000.00,

exclusive of interest and costs.

        4.       There is complete diversity of citizenship between the parties.                    Liberty is a

company organized under the laws of the State of Illinois and its principal place of business is

175 Berkeley Street, Boston, Massachusetts. Accordingly, at the time of filing of this suit, and

through the filing of this Notice, Liberty was and is considered out-of-state citizen for diversity

jurisdiction purposes.

        5.       Upon information and belief, Plaintiffs were citizens of Texas when their First

Amended Petition was filed, and continue to be citizens of Texas.1

        6.       Further, this Court has diversity jurisdiction over this matter because the amount

in controversy exceeds $75,000.00, exclusive of interest and costs. Regarding the amount in

controversy, Plaintiffs’ First Amended Petition states: “More specifically, Plaintiffs' seek monetary

relief of less than $100,000.00.” 2

        7.       In determining the amount in controversy, the court may consider “policy limits

and potential attorney’s fees, ... penalties, statutory damages, and punitive damages,”3 when the


1
  See Plaintiffs’ First Amended Petition, p. 1.
2
  See Plaintiffs’ First Amended Petition, p. 7.
3
  St. Paul Reinsurance Co., Ltd v. Greenberg, 134 F.3d 1250, 1253 (5th Cir. 1998); see Carrasquillo v. State Farm
Lloyds, 17 F.Supp.3d 584, 585 (W.D. Tex. 2013) (the amount sought by an insured in a state court first-party
insurance suit exceeded $75,000, and thus insurer could remove action on basis of diversity of citizenship, even
though the original complaint stated that the insured was seeking $74,855, where the insured also requested attorney
fees, court costs, and additional damages allowed under state law); Ray v. State Farm Lloyds, 1999 WL 151667
(N.D. Tex. Mar. 10, 1999) at *2-3 (finding a sufficient amount in controversy in Plaintiffs’ case against their


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insurer could be liable for those sums under state law. Here, Plaintiffs claim that their property

suffered incredible damage due to storm related conditions.4 Plaintiffs further allege that Liberty

breached the insurance contract when it failed to pay for the damages to Plaintiffs’ property

allegedly caused by the storm-related event.5 Plaintiffs seek damages for breach of contract

under their insurance contract, Policy Number H37-298-566818-40. Policy Number H37-298-

566818-40 is a LibertyGuard Deluxe Homeowner’s Policy with coverage limits of $266,600 for

the dwelling, $159,960 for personal property, and $42,520 for loss of use of the residence.

        8.       Further, Plaintiffs seek actual and consequential damages and statutory penalties

for their claims of violations of the duty of good faith and fair dealing and the Texas Insurance

Code.6 Plaintiffs also seek attorney fees.7 Thus, given Plaintiffs’ statement of the monetary

relief they are seeking in this suit in their petition, the Policy involved in Plaintiffs’ claim, the

nature of Plaintiffs’ claim, and the types of damages sought, it is more likely than not that the

amount in controversy exceeds the federal jurisdictional minimum of $75,000.00.

                                  The Removal is Procedurally Correct

        9.       Liberty was first served with the First Amended Petition in District Court on May

10, 2017. Therefore, Liberty filed this Notice of Removal within the 30-day time period required

by 28 U.S.C. §1446(b).




insurance company for breach of contract, fraud, negligence, gross negligence, bad faith, violations of the Texas
Insurance Code, violations of the Texas Deceptive Trade Practices Act, and mental anguish); Fairmont Travel, Inc.
v. George S. May Int’l Co., et. al., 75 F. Supp. 2d 666, 668 (S.D. Tex. 1999) (considering DTPA claims and the
potential for recovery of punitive damages for the amount in controversy determination); Chittick v. Farmers
Insurance Exchange, 844 F. Supp. 1153, 1155 (S.D. Tex. 1994) (finding a sufficient amount in controversy after
considering the nature of the claims, the types of damages sought and the presumed net worth of the defendant in a
claim brought by the insureds against their insurance company for actual and punitive damages arising from a claim
they made for roof damages).
4
  Plaintiffs’ First Amended Petition, p. 2.
5
  Plaintiffs’ First Amended Petition, p. 4.
6
  See Plaintiffs’ First Amended Petition, p. 7.
7
  Plaintiffs’ First Amended Petition, p. 5.


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        10.     Venue is proper in this district under 28 U.S.C. §1446(a) because this district and

division embrace the place in which the removed action has been pending and because a

substantial part of the events giving rise to Plaintiffs’ claims allegedly occurred in this district.

        11.     Pursuant to 28 U.S.C. §1446(a), all pleadings, process, orders, and all other filing

in the state court action are attached to this Notice as Exhibit “A.”

        12.     Pursuant to 28 U.S.C. §1446(d), promptly after Liberty files this Notice, written

notice of the filing of this Notice of Removal will be given to Plaintiffs, the adverse party.

        13.     Pursuant to 28 U.S.C. §1446(d), a true and correct copy of this Notice will be

filed with the District Clerk for the 131st Judicial District Court of Bexar County, Texas,

promptly after Liberty files this Notice.

        WHEREFORE, Liberty Insurance Corporation requests that this action be removed from

the 131st Judicial District Court of Bexar County, Texas to the United States District Court for

the Western District of Texas, San Antonio Division, and that this Court enter such further orders

as may be necessary and appropriate.




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                                 Respectfully submitted,


                                 ____________________________________
                                 David R. Stephens
                                 Attorney in Charge
                                 State Bar No. 19146100
                                 LINDOW ▪ STEPHENS ▪ TREAT LLP
                                 One Riverwalk Place
                                 700 N. St. Mary’s Street, Suite 1700
                                 San Antonio, Texas 78205
                                 Telephone: (210) 227-2200
                                 Facsimile: (210) 227-4602
                                 dstephens@lstlaw.com

                                 Of Counsel:

                                 Christiana Dijkman
                                 State Bar No. 00783967
                                 LINDOW STEPHENS TREAT LLP
                                 One Riverwalk Place
                                 700 N. St. Mary’s Street, Suite 1700
                                 San Antonio, Texas 78205
                                 Telephone: (210) 227-2200
                                 Facsimile: (210) 227-4602
                                 cdijkman@lstlaw.com

                                 Counsel for Defendant Liberty Insurance
                                 Corporation




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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing Defendant’s Notice of
Removal was filed electronically with the United States District Court for the Western District of
Texas, San Antonio Division, with notice of case activity to be generated and sent electronically
by the Clerk of the Court with ECF notice being sent and a copy mailed via certified mail on this
19th day of May, 2017, addressed to those who do not receive notice from the Clerk of the Court.

       Kelly Kelly
       Paul Anderson
       ANDERSON & ASSOCIATES
       2600 SW Military Drive, Suite 118
       San Antonio, Texas 78224
                                                            ______________________________
                                                            David R. Stephens




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